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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
LAREDO DIVISION

CITY OF LAREDO

Plaintiff,

v. Civil Case No. dl -cv-73.
The UNITED STATES OF AMERICA;
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY; ALEJANDRO
N. MAYORKAS, Secretary of the United
States Department of Homeland Security,
in his official capacity; U.S. CUSTOMS
AND BORDER PROTECTION; TROY
MILLER, Senior Official Performing the
Duties of the Commissioner of U.S.
Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION OFFICE OF
BORDER PATROL; RODNEY S. SCOTT,
Chief, United States Border Patrol, in his
Official capacity;

Defendants.

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PLAINTIFF CITY OF LAREDO’S COMPLAINT, EMERGENCY APPLICATION
FOR A TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION,
AND PERMANENT INJUNCTION AND REQUEST FOR
EMERGENCY HEARING ON TEMPORARY RESTRAINING ORDER

TO THE HONORABLE JUDGE OF SAID COURT:

1. COMES NOW, Plaintiff CITY OF LAREDO (“Plaintiff’ and/or “City”) and
hereby files its Complaint, Emergency Application for a Temporary Restraining Order,
Preliminary Injunction, and Permanent Injunction and Request for Emergency Hearing on
Temporary Restraining Order against Defendants The UNITED STATES OF AMERICA;
UNITED STATES DEPARTMENT OF HOMELAND SECURITY; ALEJANDRO N.

MAYORKAS, Secretary of the United States Department of Homeland Security, in his official
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capacity; U.S. CUSTOMS AND BORDER PROTECTION; TROY MILLER, Senior Official
Performing the Duties of the Commissioner of U.S. Customs and Border Protection, in his official
capacity; U.S. CUSTOMS AND BORDER PROTECTION OFFICE OF BORDER PATROL;
RODNEY S. SCOTT, Chief, United States Border Patrol, in his official capacity (hereinafter
collectively referred to as “Defendants”), and in support thereof would respectfully show the
Court as follows:

I. PARTIES

2. Plaintiff City of Laredo is a home-rule municipal corporation, incorporated and
operating under the laws of the State of Texas.

3. Defendants are appointed officials of the United States government, United States
governmental agencies responsible for the implementation of the challenged issue, and the United
States.

4. Defendant the United States of America is sued under 5 U.S.C. sections 702-703
and 28 U.S.C. section 1346.

5. Defendant the United States Department of Homeland Security (“DHS”) oversees
U.S. Customs and Border Protection (“CBP”) and U.S. Customs and Border Protection Office of
Border Patrol, (*“BP” and/or “Border Patrol’).

6. Defendant Alejandro N. Mayorkas is the Secretary of the United States
Department of Homeland Security. He is responsible for the administrative actions taken in
relation to the apprehension and transport of Refugees, Immigrants, and/or Migrants (RIMs). He
is sued in his official capacity only.

7. Defendant Troy Miller is the Senior Official Performing the Duties of the

Commissioner of CBP. He is responsible for the administrative actions taken in relation to the

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apprehension and transport of Refugees, Immigrants, and/or Migrants (RIMs). He is sued in his
official capacity only.

8. Defendant Rodney S. Scott is the Chief of the Customs and Border Protection
Office of the Border Patrol. He is responsible for the administrative actions taken in relation to
the apprehension and transport of Refugees, Immigrants, and/or Migrants (RIMs). He is sued in
his official capacity.

JURISDICTION AND VENUE

9. The Court has subject matter jurisdiction pursuant to 28 U.S.C. sections 1346,
1361 and 5 U.S.C. sections 702-703.

10. The Court is authorized to award the requested injunctive relief under 5 U.S.C.
section 706, 28 U.S.C. section 1361, and 28 U.S.C. sections 2201-2202.

11. Venue lies in this district pursuant to 28 U.S.C. section 1391 because the City of
Laredo is a resident of this Judicial District, and a substantial part of the events or omissions
giving rise to Plaintiff's claims occurred in this District.

FACTUAL BACKGROUND

12. Refugees, Immigrants, and/or Migrants (RIMs) travel through the southern border
of Texas every day. Many of which who cross legally through the Ports of Entry and are tested
for COVID-19 before allowed entry into the United States, while many cross the southern border
illegally and, consequently, are not tested for COVID-19 prior to their entry. Accordingly,
Defendants, and particularly Border Patrol, apprehends these individuals, processes them, and
manages their release while they await court proceedings.

13. While many apprehensions occur at our own border in Laredo, many other

apprehensions occur in other areas including the Rio Grande Valley (RGV) and the City of Del

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Rio. As Defendants continue to process the overflow of RIMs apprehended in the RGV and Del
Rio, they have been transporting RIMs into the City of Laredo for release from detention every
day. The City was recently advised that Border Patrol will double the number of RIMs brought
to Laredo to manage the current overflow in the RGV. See Exhibit ]. That is, increasing numbers
from three (3) bus loads to six (6) bus loads daily, minimally between 250 to 350 people per
day. Of importance, these numbers don’t include those RIMs who have actually been detained
at the Laredo border, which on average amounts to approximately 25 to 35 per day, making
matters to address the ever-growing RIM population at our own Border progressively worse.

14. | Not every apprehended person is tested for COVID-19 as part of Defendants’
processing procedure before they are legally released from immigration custody and into the
general public. Therefore, many, if not most, go untested and risk spreading the disease to other
RIMs in their group and the general public after their release.

15. Defendants release these individuals in Laredo, many of which are cared for and
serviced by local shelters/entities, Holding Institute and Catholic Charities, also referred to as
non-government agencies (NGO’s). However, only those who arrive at the NGO’s are tested for
COVID-19 and treated accordingly in an effort to stop the spread of the deadly virus. This leaves
those RIMs who either choose not to go to the shelters or do not qualify to be housed at the
shelters to be released into the general public—local bus stations, the airport, etc—without
having been tested for COVID-19 and potentially exposing others to the risk of infection.

16. Furthermore, recent calculations reveal that the COVID-19 positive detections

among these RIMs has jumped significantly, up to 40% increase in some groups. See Exhibit 2.

From June Ist through July 9th there was a noticeable increment of positive cases, as 305 RIMs

were reported COVID-19 positive. As of July 11,2021, there were 139 confirmed active COVID-

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19 cases in the City, of which 63 were detainees/RIMs. See Exhibit 3. Of particular concern is
that COVID-19 variant tests have back positive in the community, some of which were RIM
individuals who required to be hospitalized locally. See Exhibit 3. The COVID-19 variant requires
a longer time for testing which places an additional strain on the NGO’s capacity to house and
accommodate them for proper treatment and quarantine further necessitating the halt of additional
RIMs being brought to the City.

17. Holding Institute is operating as a COVID-19 positive quarantine shelter by
testing, vaccinating and housing RIMs, and the Frontera shelter, operated by Catholic Charities,
is operating to care for non-positive COVID-19 RIMs. However, further complicating matters,
on Friday, July 9, 2021, Holding Institute shelter was quarantined by the City of Laredo Medical
Authority (LHA) as a desperate attempt to try and prevent the positive RIMs from infecting the
community as the RIMs were apparently walking in the local streets and shopping areas. It is to
remain under quarantine for at least the next week to ensure those COVID positive persons
complete their isolation period.

18. These two NGO’s had been managing and coping within the limits of their
financial and personnel resources by expanding locations to provide housing, medical care, and
accommodations to all RIMs until July 9, 2021 when the City of Laredo, through federal funds
was obligated to step in to assist. Although the City of Laredo can temporarily continue to provide
funding through federal funds, the imminent issue at stake 1s the immediate lack of logistics for
obtaining additional operational space and the lack of new and willing employees to recruit to
assist.

19. This past week 172 positive RIM persons were identified, placing a significant

strain on the shelters to provide basic necessities such as food, water, clothing, toiletries and

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medical supplies for persons that must remain at their facility for 10 days in isolation, as per CDC,
to prevent further spread of infection. Additionally, with the increasing RIM volume of positives,
these persons can complicate or become severe and may require admission to our local hospitals.

20. The ultimately concerning matter is that the City of Laredo is designated as a
medically underserved area (MUA) and Health Professionals Shortage Area as designated by the
Health Resources and Services Administration (HRSA). The pandemic amplified this issue, with
local hospitals experiencing a depletion of medical staff, no pediatric Intensive Care Unit (ICU),
and with very limited bed and adult ICU capacity to accept COVID-19 patients, if at all. Our
weakened medical infrastructure is not sufficiently equipped to immediately accommodate the
health of our own citizens, and most certainly cannot handle the additional stress of dozens of
RIM admissions to our local hospitals.

21. The urgency of this matter is that the NGO’s are at full capacity and unable to
accept additional RIMs. Therefore, if the flow of RIMs to Laredo is not stopped all of those RIMs
who are brought to the City will be released from immigration custody (approximately 300 people
per day) without being tested when they may be infected with COVID 19 or at the very least have
likely been exposed to COVID-19. These RIMs will be dropped off into the general public, at
local bus stations, and at the Laredo International Airport—unknowingly exposing the
community and fellow citizens to this deadly virus during their travels all over the country.

22. Furthermore, U.S. Health Law Section 265 of Title 42 (“Title 42”) is a public
health order established by the Centers for Disease Control and Prevention (CDC) during the
onset of the coronavirus pandemic, and was implemented by the Trump administration back in
March 2020 which essentially prohibits the introduction of individuals into the United States

when the CDC Director believes that there is serious danger of the introduction of a

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communicable disease into the United States. 42 U.S.C. § 265. The newly implemented policy

allowed CBP officials to expel migrants encountered at the U.S-Mexico border instead of holding

them in detention facilities to avoid the spread of the virus. It has been reported that President

Biden is considering ending the use of the Title 42 expulsion order in the very near future.
SUMMARY OF THE ARGUMENT

23. Although the increased influx of RIMs is clearly a federal issue, the federal
government has made this a municipal problem to resolve on our own. As Laredo is an
underserved medical community with limited resources, it simply cannot accommodate a surge
in COVID-19 positives. The City cannot accept any more buses of RIMs as the flood of RIMs
has caused irreparable harm and injury to our community given little to no hospital availability.
The situation is imminent as the shelters are at full capacity and it has become impossible to
perform and provide reasonable care to RIMs. The City seeks to ensure the health and safety of
the community as well as the RIMs, and the rest of the country during their travels. Furthermore,
the end of Title 42 would have serious ramifications as our health care system would not be able
to handle any additional influx.

24. Therefore, the City requests that Defendants cease transporting RIMs to the City
of Laredo until the time that our local shelters have capacity to provide housing and proper
accommodations.

LEGAL STANDARD

25. The City of Laredo seeks a temporary restraining order and preliminary injunction
for the purpose “of preserving the status quo and preventing [the] irreparable harm” that will
occur 1f Defendants continue to transport buses full of RIMs into the City of Laredo. Granny

Goose Foods, Inc. vy. Bhd. of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cnty.,

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415 U.S. 423, 439 (1974).

26. To merit such relief, the City, as the moving party, must show: (1) a substantial
likelihood of success on the merits; (2) a substantial threat that failure to grant the injunction will
result in irreparable injury to the moving party; (3) the threatened injury outweighs any damages
the injunction may cause defendant; and (4) the injunction 1s in the public interest. See Jackson
Women’s Health Org. v. Currier, 760 F.3d 448, 452 (Sth Cir. 2014); Mayo Found. for Med. Educ.
& Research v. BP Am. Prod. Co., 2:20-CV-34-Z, 2020 WL 759212, at *2 (N.D. Tex. Feb. 14,
2020) (applying same standard to temporary restraining order that governs preliminary injunction
analysis).

27. “None of [these] four requirements has a fixed quantitative value.” Monumental
Task Comm., Inc. v. Foxx, 157 F. Supp. 3d 573, 582 (E.D. La. 2016) (citing Texas v. Seatrain
Int'l, S.A., 518 F.2d 175, 180 (Sth Cir. 1975)). Instead, “a sliding scale is utilized, which takes
into account the intensity of each in a given calculus.” /d. Thus, in applying the four-part test, the
Court must conduct “a delicate balancing,” which weighs “the probabilities of ultimate success
at final hearing with the consequences of immediate irreparable injury that possibly could flow
from the denial of preliminary relief.” /d. Ultimately, whether to grant a request for a temporary
restraining order “is left to the sound discretion” of the Court. Nianga v. Wolfe, 435 F. Supp. 3d
739, 743 (N.D. Tex. 2020).

ARGUMENT
I. The City is Likely to Prevail on the Merits of Its Claims

28. The City can show that there is concrete, particularized, actual imminent and

irreparable injury that is clearly traceable to the actions of the federal government agencies (CBP,

BP, and ICE) by their transport of RIMs into the City. The City hereby incorporates the facts

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identified in the Factual Background section above as incorporated by reference herein as if fully.
Based on the aforementioned facts above, the City is likely to succeed on the merits because the
City can show particularly that the health and safety dangers that the continued influx of RIMs
into the City pose in regards to COVID-19.

29. Texas Government Code Section 418.108(f) provides, “The county judge or the
mayor of a municipality may order the evacuation of all or part of the population from a stricken
or threatened area under the jurisdiction and authority of the county judge or mayor if the county
judge or mayor considers the action necessary for the preservation of life or other disaster
mitigation, response, or recovery”, and Section 418.108(g) states, “The county judge or the mayor
of a municipality may control ingress to and egress from a disaster area under the jurisdiction and
authority of the county judge or mayor and contro! the movement of persons and the occupancy
of premises in that area. Tex. Gov't Code § 418.108(f) and (g).

30. Accordingly, due to the influx of RIMs that Defendants continue to transport into
Laredo, Webb County, Texas, Webb County Judge Tano Tijerina intends to use his authority
pursuant to Section 418.108(f) and (g) to tackle the health and safety concerns posed to the
Laredo, Webb County area as an effort to preserve life and ensure that the disaster mitigation,
response, and recovery efforts are not lost during such time that the area has been declared as
Disaster Area. See Exhibit 4.

A. Standard for Assessing Likelihood of Success

31. “As long as the court cannot say there is no likelihood of prevailing on the merits but
finds the factor of substantial likelihood of success present to some degree, then the party seeking
the injunction has met its burden.” Family Rehab., Inc. v. Azar, 3:17-cv-3008, 2018 WL 3155911,

at *3 (N.D. Tex. June 28, 2018) (citing Productos Carnic, S.A. v. Cent. Amer. Beef & Seafood

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Trading Co., 621 F.2d 683, 686 (5th Cir. 1980)).

32. Temporary relief is not appropriate “if there is no chance that the movant will
eventually prevail on the merits.” State of Texas v. Seatrain Int'l, S.A., 518 F.2d 175, 180 (Sth
Cir. 1975). But “one appealing to the conscience of the chancellor to maintain the status quo...
, although he carries a burden, is not required to prove to a moral certainty that his ts the only
correct position.” /d. That the movant “is unable, in an abbreviated proceeding, to prove with
certainty eventual success does not foreclose the possibility that temporary restraint may be
appropriate.” /d.; see also 7C Charles Alan Wright, ef al., Fed. Prac. & Proc. § 2948.3 (3d ed.)
(“All courts agree that plaintiff must present a prima facie case but need not show a certainty of
winning.”’).

33. “A preliminary injunction may issue... despite the existence of a plausible defense,
as long as the movant demonstrates a substantial likelihood of success.” Dallas Cowboys
Cheerleaders, Inc. v. Scoreboard Posters, Inc., 600 F.2d 1184, 1188 (Sth Cir. 1979),

Il. The City of Laredo will Suffer Irreparable Harm if an Injunction is not Granted

34. “To show irreparable injury if threatened action is not enjoined, it is not necessary
to demonstrate that harm is inevitable and irreparable.” Humana, Inc. v. Avram A. Jacobson,
M.D., P.A., 804 F.2d 1390, 1394 (Sth Cir. 1986). Instead, “[t]he plaintiff need show only a
significant threat of injury from the impending action, that the injury is imminent, and that money
damages would not fully repair the harm.” /d. (footnote omitted).

35. The City makes that showing because the continued transport of RIMs into the City
for release into the general public will irreparably harm the City given little to no hospital
availability. The City has limited resources as it is an underserved medical community, with a

shortage of doctors and nurses available to treat those infected with COVID-19. The situation is

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imminent as the shelters are at full capacity and will be unable to test and perform and provide
reasonable care to additional COVID-19 positive RIMs. The City of Laredo is at a tipping point
because of failure to receive timely resources to enforce Washington’s changed border policies.

36. Moreover, in the event that the President lifts the Title 42 order within the time that
our NGO’s are under quarantine and are at full capacity, it would be a logistical nightmare for the
City as it would be unable to tackle the health and safety risks posed by the influx. Our health
care system (or lack thereof) would not be able to serve the medical needs of the people living in
our community in addition to the RIMs.
Ht. A TRO Would Not Harm Defendants or the Public

37. Defendants face no harm from a TRO. But even if Defendants had a legitimate
interest for their continued transport of RIMs to the City, they face no substantial prejudice from
doing so. “A temporary restraining order is a ‘stay put,’ equitable remedy that has as its essential
purpose the preservation of the status quo while the merits of the cause are explored through
litigation.” Foreman y. Dallas County, 193 F.3d 314, 323 (Sth Cir. 1999), abrogated on other
grounds, Davis v. Abbott, 781 F.3d 207, 214 (Sth Cir. 2015). The remedy the City seeks is merely
to stop the transfer or at the least significantly reduce the number of RIMs brought over until our
local shelters have capacity to accommodate them. Any hurdles associated with the federal
government ceasing transporting RIMs to the City and/or testing RIMs for this deadly virus
should certainly be outweighed by the federal government’s interest in not only protecting
Laredoans, but the people living in this country, including the RIMs who have traveled to the US,
and due to the Government’s protocols, can legally be released until their due process can be had
in a court of law.

IV. An Injunction is in the Public Interest

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38. Issuance of a temporary restraining order and subsequent preliminary injunction by
this Court is in the public interest as the health and safety of the City and the country is at stake.
The release of people who are COVID-19 positive and/or have been exposed to someone who is
COVID-19 positive poses a danger that this City and country have endeavored to remedy since
the inception of this pandemic. Unfortunately, the federal government has left this public health
concern to be tackled by our local government with no consideration of the City’s little to no
resources nor regard for the deadly ramifications it could have on the country.

39. An easy solution exists to tackle this public health and safety matter—the federal
government agencies can transfer RIM overflow to other venues further north that are more
logistically prepared and properly medically served to provide adequate accommodations to these
people. Venues that are prepared to provide proper food, shelter, COVID-19 testing, isolating if
COVID-19 positive or variants, vaccinating, medically treating, and transporting same to bus
stations or airports after their release from immigration custody. This not only would ensure
proper humanitarian care of RIMs who are now in our county, but ensure the protection of al/
people who come in contact with them—U.S. citizens, and non-citizens—from the risk of getting
infected with this deadly disease.

PRAYER FOR RELIEF

40. For the foregoing reasons, Plaintiff CITY OF LAREDO respectfully prays that the
Court have an emergency hearing on the City’s request for Temporary Restraining Order
and enter an Emergency Temporary Restraining Order enjoining Defendants from
transporting RIMs to the City of Laredo until the time that our local shelters have capacity
to provide housing and proper accommodations for them, issue preliminary and permanent

injunctive relief regarding same, and award such other further relief as the Court deems equitable

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and just.

Dated: July 16, 2021 Respectfully Submitted,

/s/ Alyssa J. Castillon

ALYSSA J. CASTILLON

Assistant City Attorney, City of Laredo
Attorney in Charge

Texas State Bar No.: 24064568

Southern District of Texas Bar No.: 3114327
City of Laredo Office of the City Attorney
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<8/ Kristina K. Laurel Hale
TINA K. LAUREL HALE

 

   

il: khale@ci.laredo.tx.us
Counsel for the City of Laredo
CERTIFICATE OF SERVICE

I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on July 16, 2021. A true and accurate copy of the foregoing document was also sent
to the following email addresses:

ogcexecsec@hq.dhs. gov;

oge@hqg.dhs. gov;
david.palmer(@hq.dhs.gov;

stephen.mccleary@hq.dhs.gov;
sharmistha.das(@hq.dhs. gov:
cbpserviceintake(@cbp.dhs.gov:
Robert.E.perez@cbp.DHS.gov; and
USATXS.CivilNotice@usdoj.gov

 

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And sent via certified mail to:

Civil Process Clerk

United States Attorney’s Office
1000 Louisiana Ste 2300
Houston, TX 77002

Office of the General Counsel

U.S. Department of Homeland Security
2707 Martin Luther King Jr. Ave, SE
Washington, DC 20528-0485

Office of Chief Counsel
U.S. Customs and Border Protection

1300 Pennsylvania Avenue, Suite 4.4-B
Washington, D.C. 20229

/s/ Alyssa J. Castillon
ALYSSA J. CASTILLON

 

CERTIFICATE OF CONFERENCE

I certify that, on July 16, 2021, I attempted to confer with Defendants about the substance
of this application and their availability for a hearing on this matter by emailing the following
addresses:

ogcexecsec(@hq.dhs.gov;

ogce(@hq.dhs.gov;
david.palmer@hq.dhs.gov;

stephen.mccleary(@hq.dhs.gov;
sharmistha.das(@hq.dhs.gov;
cbpserviceintake(@cbp.dhs. gov:
Robert.E.perez(@cbp.DHS.gov; and
USATXS.CivilNotice@usdoj.gov

 

 

 

/8/ Alyssa J. Castillon
ALYSSA J. CASTILLON

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VERIFICATION
STATE OF TEXAS §
§
COUNTY OF WEBB §

BEFORE ME, the undersigned notary public on this day personally appeared, City of
Laredo Fire Chief and Emergency Management Coordinator Guillermo Heard, who, being
sworn, stated under oath that he has read Plaintiff City of Laredo’s Complaint, Verified
Application for a Temporary Restraining Order, Preliminary Injunction, and Permanent Injunction

(the “Complaint’), and that the factual allegations contained therein are within his personal

Clie heer’

Guillermo Heard

knowledge and are true and correct.

 

SWORN TO AND SUBSCRIBED before me on the [44 R day of July, 2021 by Guillermo

| tluiA Loe

Cynthja Ruiz
Notary Public in and for the State Texas 3
My Commission Expires: 7), .

Heard.

  

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VERIFICATION
STATE OF TEXAS §
§
COUNTY OF WEBB §

BEFORE ME, the undersigned notary public on this day personally appeared, City of
Laredo Local Health Authority Dr. Victor Trevino, who, being sworn, stated under oath that
he has read Plaintiff City of Laredo’s Complaint, Verified Application for a Temporary
Restraining Order, Preliminary Injunction, and Permanent Injunction (the “Complaint’”), and that

the factual allegations contained therein are within his personal knowledge and are true and correct.

 

SWORN TO AND SUBSCRIBED before me on the [4% day of July, 2021 by City of Laredo

(1 itl ach Leos

Cynthify Ruiz
Notary Public in and for the State of Texas

Local Health Authority Dr. Victor Trevino.

   
 

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+? My Notary ID # 131648804

 
    
       

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